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             13                                UNITED STATES DISTRICT COURT
             14             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
             15
             16 KEVIN RISTO, on behalf of himself             CASE NO. 2:18-CV-07241-CAS-PLA
             17 and all others similarly situated,            CLASS ACTION
             18              Plaintiff,
                            v.                                DECLARATION OF KEVIN RISTO
             19                                               IN SUPPORT OF PLAINTIFF’S
                                                              NOTICE OF MOTION FOR CLASS
             20 SCREEN     ACTORS GUILD-
                AMERICAN FEDERATION OF                        CERTIFICATION
             21 TELEVISION      AND RADIO
                ARTISTS, a Delaware corporation;              Judge: Hon. Christina A. Snyder
             22 AMERICAN       FEDERATION OF
                MUSICIANS OF THE UNITED                       Date: September 14, 2020
             23 STATES     AND CANADA, a California
                nonprofit corporation; RAYMOND M.
                                                              Time: 10:00 am
                                                              Crtrm.: 8D
             24 HAIR,   JR, an individual, as Trustee of
                the AFM and SAG-AFTRA Intellectual
             25 Property  Rights Distribution Fund;
                TINO GAGLIARDI, an individual, as
             26 Trustee  of the AFM and SAG-AFTRA
                Intellectual Property Rights Distribution
             27 Fund;  DUNCAN CRABTREE-
                IRELAND, an individual, as Trustee of
             28 the AFM and SAG-AFTRA Intellectual
                    DECLARATION OF KEVIN RISTO IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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               1 Property Rights Distribution Fund;
                 STEFANIE TAUB, an individual, as
               2 Trustee of the AFM and SAG-AFTRA
                 Intellectual Property Rights Distribution
               3 Fund; JON JOYCE, an individual, as
                 Trustee of the AFM and SAG-AFTRA
               4 Intellectual Property Rights Distribution
                 Fund; BRUCE BOUTON, an
               5 individual, as Trustee of the AFM and
                 SAG-AFTRA Intellectual Property
               6 Rights Distribution Fund; and DOE
                 DEFENDANTS 1-10,
               7
                               Defendants.
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                    DECLARATION OF KEVIN RISTO IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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               1                                        DECLARATION OF KEVIN RISTO

               2           I, Kevin Risto declare as follows:
               3           1.       I am the named Plaintiff and proposed class representative in the above-
               4 captioned class action lawsuit against the Screen Actors Guild-American Federation
               5 of Television and Radio Artists (“SAG-AFTRA”), American Federation of Musicians
               6 of the United States and Canada (“AFM”), and the trustees of the AFM and SAG-
               7 AFTRA Intellectual Property Rights Distribution Fund (the “Fund”) Raymond M.
               8 Hair Jr., Augustino Gagliardi, Duncan Crabtree-Ireland, Stefanie Taub, Jon Joyce,
               9 and Bruce Bouton (collectively “Defendants”). I submit this declaration in support of
             10 Plaintiff’s Motion for Class Certification. I am personally familiar with the facts that
             11 are provided in this declaration. If called as a witness, I could and would competently
             12 testify to the matters stated herein.
             13            2.       I am a beneficiary of the Fund and entitled to royalties as a non-featured
             14 artist for the song “When I See U,” by Fantasia. I have written and produced songs
             15 for other artists including, but not limited to, Jennifer Lopez, 50 Cent, and Justin
             16 Bieber. I also received a Grammy award for my work on Frank Ocean’s “Channel
             17 Orange” album. I am not a member of an artist union.
             18            3.       I decided to serve as a class representative and to pursue this class action
             19 lawsuit against the Defendants without any promise of recovery or compensation. By
             20 serving as class representative, it is my goal to ensure monetary, declaratory, and
             21 injunctive relief for all Fund beneficiaries who are class members; requiring a return to
             22 the Fund of the 3% fee taken since July 2013 (the “Service Fee”); cessation of collection
             23 of the Service Fee; and a declaration that the Data Purchase and Services Agreement is
             24 void and unenforceable.
             25            4.       It is my understanding that this lawsuit could not have been pursued on
             26 behalf of the class members against the Defendants unless an impacted Fund
             27 beneficiary, such as myself, served as class representative. In deciding to serve as the
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                    DECLARATION OF KEVIN RISTO IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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               1 class representative in this case, I understood there was a potential that my name would
               2 be disclosed to the media, and could adversely impact my working relationship with
               3 members of the Defendant unions or related entities. Despite these risks, I have agreed
               4 to serve as a class representative.
               5           5.       To date on behalf of myself and the class, I have helped vigorously pursue
               6 the claims of this case and fulfilled all my responsibilities as class representative. These
               7 efforts required dedicating time to case-related activities including, but not limited to:
               8 (1) reviewing and approving court-filings, including the operative Class Action
               9 Complaint; (2) staying informed and communicating with my attorneys regarding the
             10 status and progress of this lawsuit; (3) participating in the collection of documents and
             11 preparation of the discovery responses; (4) participating in mediation with Defendants.
             12 These activities required time and resources that could have been spent on other
             13 professional matters.
             14            6.       I have no conflicts of interest with any members of the class and will
             15 continue to vigorously pursue all claims on behalf of the class. I remain ready, willing,
             16 and able to continue actively participating in this lawsuit and fulfilling my
             17 responsibilities as class representative throughout the course of this litigation including
             18 attending and providing testimony at deposition and trial if necessary.
             19            I declare under penalty of perjury under the laws of the United States of
             20 America that the foregoing is true and correct.
             21            Executed on June 26, 2020, at Las Vegas, Nevada.
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             24                                                              Kevin Risto
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                    DECLARATION OF KEVIN RISTO IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
